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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 AIR CANADA AND AEROPLAN INC.,

                        Plaintiffs,                            C.A. No. 23-1177-GBW

                  v.


 LOCALHOST LLC,

                        Defendant.


                                 RULE 7.1.1 CERTIFICATION

        Pursuant to D. Del. LR 7.1.1, counsel for the parties met and conferred regarding

Plaintiffs’ preliminary injunction motion, including verbally with Delaware counsel present, and

the parties were unable to reach an agreement on the relief sought therein.


 Dated: December 21, 2023                           MCCARTER & ENGLISH, LLP

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